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                               No. 23-1769

               United States Court of Appeals
                                  for the
                          Federal Circuit
                        CAUSAM ENTERPRISES, INC.,
                               Appellant
                                    v.
                   INTERNATIONAL TRADE COMMISSION,
                               Appellee

 ITRON, INC., RESIDEO SMART HOMES TECHNOLOGY (TIANJIN), ADEMCO, INC.,
   ECOBEE TECHNOLOGIES ULC, DBA ECOBEE, ALARM.COM HOLDINGS, INC.,
               ALARM.COM INCORPORATED, ENERGYHUB, INC.,
                              Intervenors
                     ____________________________

             Appeal from the United States International Trade
              Commission in Investigation No. 337-TA-1277


APPELLEE’S AND INTERVENORS’ UNOPPOSED JOINT MOTION FOR
    EXTENSION OF TIME TO FILE THEIR RESPONSE BRIEFS


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                          November 27, 2023
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      Pursuant to Federal Rule of Appellate Procedure 26(b) and Federal Circuit

Rule 26(b), Appellee International Trade Commission (“the Commission”) and

Intervenors Itron, Inc., Resideo Smart Homes Technology (Tianjin), Ademco, Inc.,

ecobee Technologies ULC, dba ecobee, Alarm.com Holdings, Inc., Alarm.com

Incorporated, and EnergyHub, Inc. (collectively, “Intervenors”) jointly move for an

order extending the time to file their response briefs in this appeal by 46 days. The

Commission’s and Intervenors’ response briefs are currently due on December 11,

2023. A 46-day extension would make the briefs due on January 26, 2024. As set

forth below, good cause exists for the requested extension. The Commission and

Intervenors have not sought—and the Court has not granted—any previous extension

of time for the Commission or Intervenors in this appeal.

      The requested extension of time is necessary due to the limited availability of

attorneys representing Intervenors. Specifically, attorneys representing Intervenors

have other work before this Court and other tribunals that will complicate their ability

to complete the briefing in this case by the original deadline. This request for an

extension of time is made in good faith and not for the purpose of delay or procedural

advantage. The Commission joins Intervenors’ motion, and requests the same

extension of time for filing its brief, to ensure that all response briefs are filed on the

same day.




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          Additionally, Appellant Causam Enterprises, Inc. (“Causam”) already

requested, and this Court granted, a 30-day extension (see Dkt. Nos. 29, 30), a second

30-day extension (see Dkt. Nos. 33, 34), and a third 30-day extension (see Dkt. Nos.

35, 37), thus affording Causam 90 days of extension for its opening brief. The

extension requested herein would afford the Commission and Intervenors a shorter

extension of time than that afforded to Causam.

          Counsel for Causam has no objections to the requested extension and has

indicated that Causam does not intend to file a response.

          For the foregoing reasons, and for the additional reasons set forth in the

accompanying declaration, the Commission and Intervenors respectfully request that

this Court grant an extension of 46 days, until January 26, 2024, to file their response

briefs.

    Dated: November 27, 2023                   Respectfully submitted,

                                               By: Panyin Hughes 1
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                                               Wayne W. Herrington
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    The Commission consents to Intervenors’ filing of this motion on its behalf.



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                               Alarm.com Incorporated, and
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                                   No. 23-1769

                      United States Court of Appeals
                                      for the
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                           CAUSAM ENTERPRISES, INC.,
                                  Appellant
                                        v.
                        INTERNATIONAL TRADE COMMISSION,
                                    Appellee

   ITRON, INC., RESIDEO SMART HOMES TECHNOLOGY (TIANJIN), ADEMCO, INC.,
     ECOBEE TECHNOLOGIES ULC, DBA ECOBEE, ALARM.COM HOLDINGS, INC.,
                 ALARM.COM INCORPORATED, ENERGYHUB, INC.
                                Intervenors
                       ____________________________

                 Appeal from the United States International Trade
                  Commission in Investigation No. 337-TA-1277


 DECLARATION OF KIRK T. BRADLEY IN SUPPORT OF UNOPPOSED
   JOINT MOTION TO EXTEND THE TIME FOR APPELLEE AND
       INTERVENORS TO FILE THEIR RESPONSE BRIEF


      I, Kirk T. Bradley, under penalty of perjury and pursuant to 28 U.S.C. § 1746,

declare as follows:

      1. I am a partner in the law firm of Alston & Bird LLP, and a member of the

         Bar of this Court. I am counsel for Intervenors Itron, Inc., Resideo Smart

         Homes Technology (Tianjun), and Ademco, Inc. in the referenced appeal.




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   I submit this declaration based on personal knowledge. If called upon as a

   witness, I could testify as to the truth of each statement.

2. This is the International Trade Commission’s and Intervenors’ first request

   for an extension of time in this appeal.

3. There is good cause for the requested extension, which is less than the total

   length of the three extensions of time requested by Appellant Causam

   Enterprises, Inc. (“Causam”). I and other counsel of record for the

   Intervenors have intervening obligations in unrelated matters pending

   before this Court and other tribunals that will complicate our ability to

   complete the briefing in this case by the original deadline. Accordingly, the

   requested 46-day extension of time to file the Commission’s and

   Intervenors’ response brief from December 11, 2023, to January 26, 2024,

   is appropriate.

4. This request is made in good faith and not for the purpose of delay or

   procedural advantage.

5. The Commission and counsel for Intervenors communicated with counsel

   for Appellant Causam regarding the requested extension of time. Counsel

   for Causam indicated that Causam does not oppose the Commission’s and

   the Intervenors’ joint request and will not file a response.




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Date: November 27, 2024                  Respectfully submitted,

                                            By: Kirk T.Bradley
                                            Kirk T. Bradley
                                            ALSTON & BIRD LLP




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